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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

WILLIAM FRENCH and
MELYNDA ANNE REESE,
Civil No.: 3:23-cv-00538
Plaintiffs,
(Judge Mannion)
v.

COUNTY OF LUZERNE,
LUZERNE COUNTY BOARD
OF ELECTIONS and
REGISTRATION,

Defendants.

WITHDRAWAL OF APPEARANCE

Kindly withdraw the appearance of Kristyn Giarratano Jeckell for Defendants
County of Luzerne County Board of Elections and Registration in the above
referenced matter.

Respectfully submitted,

s/Kristyn Giarratano Jeckell
Kristyn Giarratano Jeckell
Attomey [.D. No. 327284
ELLIOTT GREENLEAF, P.C.
15 Public Square, Suite 210
Wilkes-Barre, PA 18701

(570) 371-5290

Attorneys for Defendants

DATED: September 27, 2024

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

WILLIAM FRENCH and
MELYNDA ANNE REESE, :
Civil No.: 3:23-ev-00538
Plaintiffs,
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v.

COUNTY OF LUZERNE,
LUZERNE COUNTY BOARD
OF ELECTIONS and
REGISTRATION,

Defendants.

CERTIFICATE OF SERVICE

I, Kristyn Giarratano Jeckell, hereby certify that I have caused to be served
this day a true and correct copy of a withdrawal of appearance via ECF only
addressed as follows:

Walter S. Zimolong, ITI
Zimolong, LLC
PO Box 552
Villanova, PA 19085-0552

s/Kristyn Giarratano Jeckell
Kristyn Giarratano Jeckell

DATED: September 27, 2024

